 

Case 4:22-cr-00104-JSW SEpEpBRORbERF ied 03/10/22 Page 1 of 5
AO 287 (Rev. 6/78) OF THE COURT

 

DEFENDANT INFORMATION RELATIVE TO

A CRIMINAL ACTION - IN U.S. DISTRICT COURT

 

sy: comptaint (1 INFORMATION INDICTMENT
L] suPERSEDING

Name of District Court, and/or Judge/Magistrate Location

NORTHERN DISTRICT OF CALIFORNIA

 

 

OFFENSE CHARGED
OAKLAND DIVISION
Counts 1 and 2: 18 U.S.C. § 2244(a)(4) - Abusive Sexual [_] Petty
Contact ;
[_] Minor (— DEFENDANT - U.S "|
Misde-
C] meanor > Enrique Chavez
Fel
“ory DISTRICT COURT NUMBER
PENALTY: 2 years’ imprisonment; lifetime supervised release; $250,000 fine;
restitution; special assessment C R 2 2 i 0 4 iS)
DEFENDANT

 

 

 

 

 

 

PROCEEDING
Name of Complaintant Agency, or Person (& Title, if any)

FBI

person is awaiting trial in another Federal or State Court,
LO give name of court

 

 

this person/proceeding is transferred from another district
O per (circle one) FRCrp 20, 21, or 40. Show District

 

this is a reprosecution of

charges previously dismissed
L which were dismissed on motion SHOW

of: \ DOCKET NO.

[_] U.S. ATTORNEY = [_] DEFENSE

this prosecution relates to a
L] pending case involving this same
defendant MAGISTRATE

CASE NO.
prior proceedings or appearance(s)
[_] before U.S. Magistrate regarding this

defendant were recorded under

 

IS NOTIN CUSTODY
Has not been arrested, pending outcome this proceeding.
1) If not detained give date any prior .
summons was served on above charges b>

e

2) ( |s a Fugitive Fy é (
3) [7] Is on Bail or Release from (show DSN & fy
Nog “Ei im 0 2
“Ep pps. Xx

 

IS IN CUSTODY "Ore Shey 5
4) (] On this charge Foy Rr

5) [_] On another conviction

\ [_] Federal [_] State

6) [_] Awaiting trial on other charges
If answer to (6) is "Yes", show name of institution

 

Has detainer L] Yes } If "Yes

 

 

 

Name and Office of Person
Furnishing Information on this form Stephanie M. Hinds

[x] U.S. Attorney [] Other U.S. Agency

Name of Assistant U.S.
Attorney (if assigned) Mohit Gourisaria

 

PROCESS:
[[] SUMMONS [(] NO PROCESS* WARRANT

If Summons, complete following:
[_] Arraignment [_] Initial Appearance

Defendant Address:

 

Comments:

ADDITIONAL INFORMATION OR COMMENTS

give date
been filed? OC No filed
DATE OF » Month/Day/Year
ARREST
Or... if Arresting Agency & Warrant were not
DATE TRANSFERRED Month/Day/Year
TO U.S. CUSTODY

 

 

 

 

CT This report amends AO 257 previously submitted

 

Bail Amount: No bail

* Where defendant previously apprehended on complaint, no new summons or
warrant needed, since Magistrate has scheduled arraignment

Date/Time: Before Judge:

 
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OF THE COURT

Gnited States District Court
FOR THE F f £ E

 

NORTHERN DISTRICT OF CALIFORNIA i BD '
Mp (_
VENUE: OAKLAND Hops. ©? ep
HER sre Shey
UNITED STATES OF AMERICA, ORNy,
V.
ENRIQUE CHAVEZ,

CR 22 1044 “Sy

DEFENDANT(S).

 

INDICTMENT

18 U.S.C. § 2244(a)(4) — Abusive Sexual Contact (Two Counts)

 

A true bill.
/o/ Ferepensen of the Grand Jury - Rey Alper

Foreman

 

 

Filed in open court this 10th day of March 2022.

 

 

 

FA y — _ Ivy A Garcia, Clerk

   

 

KE”
United States Magistrate Judge, Donna M. Ryu
Bail, $ NO BAIL

 
 

 

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SEALED 8Y ORDER
OF THE COURT

STEPHANIE M. HINDS (CABN 154284) F j L
United States Attorney E

UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF CALIFORNIA

 

OAKLAND DIVISION
UNITED STATES OF AMERICA, ) CASE NO. C R 2 2 i 0 4 ‘q
)
Plaintiff, )
) VIOLATIONS:
v. ) 18 U.S.C. § 2244(a)(4) — Abusive Sexual Contact
) (Two Counts)
ENRIQUE CHAVEZ, )
)
Defendant. )
) OAKLAND VENUE

 

INDICTMENT
The Grand Jury charges that at all times relevant to this Indictment:
Introductory Allegations

1. The Federal Correctional Institution, Dublin (“FCI Dublin”) was an all-female
correctional institution that housed federal prisoners and was operated by the Federal Bureau of Prisons
(“BOP”).

2: FCI Dublin was located in Alameda County, California, within the Northern District of
California.

3: The defendant ENRIQUE CHAVEZ (“CHAVEZ”) was employed at FCI-Dublin as a
correctional officer. CHAVEZ held the position of Cook Supervisor/Foreman.

4. As a correctional officer, CHAVEZ supervised and had disciplinary authority over

female inmates incarcerated at FCI Dublin.

INDICTMENT 1

 

 
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5. CHAVEZ was trained in BOP policies and procedures, which included training that
sexual, financial, and social relationships with inmates were (and remain) prohibited.

6. Victim 1, an individual known to the Grand Jury, was an inmate detained at FCI Dublin,
under the custodial, supervisory, and disciplinary authority of the defendant.

7. The term “sexual contact” meant “the intentional touching, either directly or through the
clothing, of the genitalia, anus, groin, breast, inner thigh, or buttocks of any person with an intent to
abuse, humiliate, harass, degrade, or arouse or gratify the sexual desire of any person.”

18 U.S.C. § 2246(3).

COUNT ONE
(Abusive Sexual Contact)
8. Paragraphs | through 7 of this Indictment are re-alleged and incorporated as if fully set
forth here. |
9, In or around October 2020, in the Northern District of California, the defendant
ENRIQUE CHAVEZ

knowingly engaged in or caused sexual contact with or by Victim 1; to wit, he intentionally touched
Victim 1’s breasts and buttocks with an intent to abuse, humiliate, harass, degrade, or arouse or gratify
the sexual desire of any person, all in violation of Title 18, United States Code, Section 2244(a)(4).
. COUNT TWO
(Abusive Sexual Contact)

10. Paragraphs 1 through 7 of this Indictment are re-alleged and incorporated as if fully set
forth here.

11. In or around October 2020, in the Northern District of California, the defendant

ENRIQUE CHAVEZ

knowingly engaged in or caused sexual contact with or by Victim 1; to wit, he intentionally touched
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Ht
Hl
Mt

INDICTMENT 2

 
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Victim 1’s vagina and breasts with an intent to abuse, humiliate, harass, degrade, or arouse or gratify the

sexual desire of any person, all in violation of Title 18, United States Code, Section 2244(a)(4).

DATED: March 10, 2022

STEPHANIE M. HINDS
United States Attorney

/3/ Mohit Gouwsacia
MOHIT GOURISARIA
Assistant United States Attorney

INDICTMENT

A TRUE BILL.

[sf Forepoweon of the Guand Jury - Ray Ulper
FOREPERSON

 
